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                    UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF TEXAS
                             LAREDO DIVSION

    In re:                                         §             Chapter 11
                                                   §
    VOLUSION, LLC1                                 §             Case No. 20-50082
                                                   §             (DRJ)
                  Debtor.                          §
                                                   §
                                                   §

               KSCO HOLDING, INC’S AND KEVIN SPROLES’
               EMERGENCY MOTION TO TRANSFER VENUE

EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE
CONDUCTED ON _________________. (CENTRAL TIME) IN
COURTROOM 400, 4TH FLOOR, 515 RUSK STREET, HOUSTON, TEXAS
77002. IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU
BELIEVE THAT EMERGENCY CONSIDERATION IS NOT
WARRANTED, YOU MUST EITHER APPEAR AT THE HEARING OR
FILE A WRITTEN RESPONSE PRIOR TO THE HEARING. OTHERWISE,
THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
GRANT THE RELIEF REQUESTED.

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.




1
  The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax
identification number, is: Volusion, LLC (9037). The Debtor’s service address is 1835A Kramer
Lane, Suite 100, Austin, TX 78758.




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REPRESENTED PARTIES SHOULD ACT THROUGH THEIR
ATTORNEY.
AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S
REGULAR DIAL-IN NUMBER. THE DIAL-IN NUMBER IS +1(832) 917-
1510. YOU WILL BE RESPONSIBLE FOR YOUR OWN LONG-
DISTANCE CHARGES. YOU WILL BE ASKED TO KEY IN THE
CONFERENCE ROOM NUMBER. JUDGE JONES’ CONFERENCE
ROOM NUMBER IS 205691.

PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE
OF AN INTERNET CONNECTION. THE INTERNET SITE IS
WWW.JOIN.ME. PERSONS CONNECTING BY MOBILE DEVICE WILL
NEED TO DOWNLOAD THE FREE JOIN.ME APPLICATION.

ONCE CONNECTED TO WWW.JOIN.ME, A PARTICIPANT MUST
SELECT “JOIN A MEETING”. THE CODE FOR JOINING THIS
HEARING BEFORE JUDGE JONES IS “JUDGEJONES”. THE NEXT
SCREEN WILL HAVE A PLACE FOR THE PARTICIPANT’S
NAME IN THE LOWER LEFT CORNER. PLEASE COMPLETE THE
NAME AND CLICK “NOTIFY”.

RELIEF IS REQUESTED NO LATER THAN AUGUST 5, 2020.2



         KSCO Holdings, Inc. and Kevin Sproles (“Movants”), move to transfer
venue of this bankruptcy case to the Western District of Texas pursuant to 11 U.S.C.
§§ 1404, 1408, 1412 and Rule 1014 of the Federal Rules of Bankruptcy Procedure.
Movants respectfully show as follows:
                                      JURISDICTION
         1.       This court has jurisdiction over this motion to transfer venue
pursuant to 28 U.S.C. §§ 157 and 1334.

                               FACTUAL BACKGROUND
         2.       KSCO is the largest equity holder in the debtor, Volusion, LLC
(“Volusion” or “Debtor”). Kevin Sproles is the largest equity owner of KSCO. He
is the founder of Volusion and until July 27, 2020, was also employed by Volusion.



2
 Movants will update and revise any notice of hearing on the Motion that is set after August 1, 2020
with the Court’s new GoToMeeting information.
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Prior to the filing of the above-captioned chapter 11 case (the “Bankruptcy Case”),
Street Capital Corporation (“Main Street”), on behalf of itself and HMS Income
Fund, Inc. (“HMS” and together with Main Street, the “Lenders”), took actions
through their appointed member of Volusion’s Board to engineer defaults on their
loan with Volusion. Main Street used the manufactured defaults to improperly seize
control of KSCO’s interest in Volusion and replace Volusion’s Board members
with Main Street’s own board. Main Street then exploited its control of Volusion
to the Debtor’s detriment.
        3.      On July 22, 2020, KSCO was informed that a forbearance agreement
had been entered into between Main Street and Volusion through August 31,
2020. Nevertheless, on July 27, 2020, Volusion, through Main Street’s selected
board, terminated Volusion’s Chief Executive Officer and other key contractors
and employees, including Mr. Sproles. That same day, Volusion filed its voluntary
chapter 11 petition, thereby commencing the Bankruptcy Case in the United States
Bankruptcy Court of the Southern District of Texas, Laredo Division.
        4.      In its chapter 11 petition [Docket No. 1] (the “Petition”), the Debtor
asserts that its address and principal place of business is 1835-A Kramer Ln. Suite
100, Austin, Texas 78758. Petition, p. 1 para. 4 (emphasis supplied). In the same
paragraph, the Debtor responded “N/A” for the “location of principal assets, if
different from the principal place of business.” Petition, p. 1 para. 4 (emphasis
supplied).
        5.      Debtor also indicated the following as its reason this case was filed
in this District: “Debtor has had its domicile, principal place of business, or
principal assets in this district for 180 days immediately preceding the date of this
petition or for a longer part of such 180 days than in any other district. Petition, p.
3, para. 11. This is not true.
        6.      The Debtor was formed as a Delaware limited liability company.
According to the Debtor’s recently filed Emergency Motion for Authority to Use
Cash Collateral and Granting Adequate Protection to Prepetition Secured Parties
[Docket No. 4] (the “Cash Collateral Motion”), Volusion is based in Austin, Texas.
Cash Collateral Motion, p. 1 para. 4. Although the Debtor filed its petition in the

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Southern District, Laredo Division, the Debtor has absolutely no connection to the
Southern District, much less to Laredo. In fact, the Debtor has never had any
assets— principal or otherwise – in the Southern District of Texas.
        7.      The Debtor has never had a tangible presence in the Southern
District. It has never had a place of business, assets, office, post office box, or even
a telephone listing in this District. The Debtor’s nerve center has always been in
the Western District; specifically, Austin, Texas, as illustrated by the following:
               Volusion’s sole office and headquarters is located in Austin, Texas.
               All Volusion’s tangible assets are located in Austin, Texas.
               The vast majority of Volusion’s approximately 175 employees are
                located in Austin, Texas. None are located in the Southern District.
               The vast majority of Volusion’s critical leadership, including the
                Head of Human Resources, Head of Information Security, Head of
                Sales, Head of Studio, VP of Finance, VP of Sale, VP of Payments,
                VP of Partners, is located in Austin, Texas. None are located in the
                Southern District.
               Volusion’s founder, Kevin Sproles, is located in Austin, Texas.
               Volusion’s recently “terminated” Chief Executive Officer, Bardia
                Dejban, is located in Austin, Texas.
               Volusion’s books and records and personnel files are maintained at
                Volusion’s headquarters in Austin, Texas.
               Volusion’s data center is located in Austin, Texas.
               Volusion’s bank accounts for its operations are in Austin, Texas.
                Volusion has other bank accounts in Dallas, Texas and Santa Clara,
                California. However, Volusion has no bank accounts in the Southern
                District.
               Volusion pays property tax to Travis County.
               Volusion’s Terms of Service mandate that all of disputes arising out
                of any of its tens of thousands of contracts with its customers must
                be litigated in Austin, Texas;
               Volusion’s Partner Terms mandate that all of disputes arising out of
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               any of its contracts with its partners must be litigated in Austin,
               Texas;
              All Volusion employees agree to have their disputes litigated in
               Travis County, Texas;
       8.      The “Debtor’s liabilities consist principally of trade debt.” Petition,
p. 7. Out of the list of creditors who have the 20 largest unsecured claims as
indicated by the Debtor in its Petition, none are located in the Southern District of
Texas. Petition, p. 7-8. Google who is listed as by far the largest creditor, has an
expansive office in Austin and the Debtor’s contacts at Google are located in
Austin. Moreover, KSCO is the largest shareholder and its largest equity holder,
Kevin Sproles, lives in the Western District.
                      ARGUMENT AND AUTHORITIES
       9.      Section 1408 of title 28 of the United States Code (the “Code”)
provides that a case under title 11 of the United States Code (the “Bankruptcy
Code”):
    may be commenced in the district court for the district (1) in which the
   domicile, residence, principal place of business in the United States, or
   principal assets in the United States, of the person or entity that is the subject
   o such case have been located for the one hundred and eighty days
   immediately preceding such commencement, or for a longer portion of such
   one hundred and eighty day period than the domicile, residence, or principal
   place of business, in the United States, or principal assets in the United
   States, of such person were located in any other district”

28 U.S.C. § 1408.
       10.     The Petition concedes that the Debtor’s principal place of business
is in Austin, Texas, which is the Western District. The Debtor further indicates
“N/A” for the “location of principal assets, if different from the principal place of
business.” Petition, p. 1 para. 4. (emphasis supplied). Thus, the Debtor has
conceded that the location of its principal assets is Austin, Texas, in the Western
District. However, the Debtor filed its petition in the Southern District of Texas,
Laredo Division and checked the box that “Debtor has had its domicile, principal
place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any

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other district. Petition, p. 3. Putting aside the inconsistencies in the petition itself,
by checking the box, Debtor presumably asserts that venue is appropriate under 28
U.S.C. § 1408(1).
        11.     For purposes of venue, the “domicile” of a corporation is generally
held to be its state of incorporation. In re FRG, Inc., 107 B.R. 461, 471 (Bankr.
S.D.N.Y 1989) (“Since a corporation’s domicile is generally held to be its state of
incorporation, FRG, a Pennsylvania Corporation, is clearly not ‘domiciled’ in New
York.”), citing Fourco Glass Co. v. Transmirra Products Corp., 353 U.S. 222, 226
(1957). The Debtor is a Delaware limited liability company, so the Southern
District of Texas is not its domicile, and venue therefore cannot be predicated on
domicile.
        12.     The principal place of business is defined by the United States
Supreme Court as follows:
    We conclude that “principal place of business” is best read as referring to
    the place where a corporation’s officers direct, control, and coordinate the
    corporation’s activities. It is the place that Courts of Appeals have called
    the corporation’s “nerve center.” And in practice it should normally be the
    place where the corporation maintains its headquarters – provided that the
    headquarters is the actual center of direction, control, and coordination, i.e.,
    the “nerve center,” and not simply an office where the corporation holds its
    board meetings (for example, attended by directors and officers who have
    traveled there for the occasion).

Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010). Here, as set forth in paragraphs
6-7, above, there can be no question that the Debtor’s nerve center is its corporate
headquarters in Austin, Texas.
        13.     Because the tests for venue under section 1408 the Code are not met,
this case should not have been filed in the Southern District of Texas. It should have
been filed in the Western District of Texas where the Debtor has its principal place
of business and all of its assets.
        14.     Where a case is filed in an improper district, Rule 1014(a)(2)
provides:
    If a petition is filed in an improper district, the court, on the timely motion
    of a party in interest or on its own motion, and after hearing on notice to the
    petitioners, the United States trustee, and other entities as directed by the
    court, may dismiss the case or transfer it to any other district if the court
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      determines that the transfer is in the interest of justice or for the convenience
      of the parties.

Fed. R. Bankr. P. 1014(a)(2).3
          15.     For transfers of venue, whether the case was filed in a proper district
or not, Rule 1014(a)(1) and (a)(2) both provide that “the court may transfer the case
to any other district if the court determines that the transfer is in the interest of
justice or for the convenience of the parties.” This language mirrors 28 U.S.C. §
1412: “A district court may transfer a case or proceeding under title 11 to a district
court for another district, in the interest of justice or for the convenience of the
parties.” Section 1412 is written in the disjunctive, meaning that each of the two
prongs – “in the interest of justice” or “for the convenience of the parties” –
constitutes an independent ground for transferring venue. In re Patriot Coal Corp,
482 B.R. 718, 738-39 (Bankr. S.D.N.Y. 2012).
          16.     The interest of justice prong of section 1412 sets forth a broad and
flexible standard. In re Dunmore Homes, Inc., 380 B.R. 668, 670 (Bankr. S.D.N.Y.
2008); Gulf States Exploration Co. v. Manville Forest Prods. Corp. (In re Manville
Forest Prods. Corp.), 896 F.2d 1384, 1391 (2d Cir. 1990). Under the interest of
justice prong, courts consider whether (i) transfer would promote the economic and
efficient administration of the bankruptcy estate; (ii) the interests of judicial
economy would be served by the transfer; (iii) the parties would be able to receive
a fair trial in each of the possible venues; (iv) either forum has an interest in having
the controversy decided within its borders; (v) the enforceability of any judgment
would be affected by the transfer; and (vi) the plaintiffs original choice of forum
should be disturbed. In re Dunmore Homes, 380 B.R. at 671-72.
          17.     The convenience of parties prong of section 1412 also has six
factors: (i) proximity of creditors of every kind to the court; (ii) proximity of the
debtor; (iii) proximity of witnesses necessary to the administration of the estate;
(iv) location of the assets; (v) economic administration of the estate; and (vi)
necessity for ancillary administration if liquidation should result. Id. at 672.


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 Movant would not oppose dismissal of this case, but this motion requests only a transfer of
venue.
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          18.     A discussion of the factors under each of the prongs follows and
militates in favor of transferring this matter to the Western District, Austin
Division.
                                 The Interest of Justice
          19.     The interests of justice will be best served by transfer to the Western
District of Texas, Austin Division:
          (i)     The transfer would promote the economic and efficient
administration of the bankruptcy estate. There is no reason to believe that the
bankruptcy court in the Western District of Texas would handle this case any less
efficiently or economically than this Court.
          (ii)    The interests of judicial economy would be served. This motion is
filed before first day motions which are scheduled for July 30th. A bankruptcy judge
in the Western District should be able to fairly and efficiently preside over this
matter.
          (iii)   The parties would be able to receive a fair trial in the Western
District. This does not appear applicable in this bankruptcy main case. To the extent
any adversary proceedings are filed, there is no reason to believe that the
bankruptcy court in the Western District would not give a fair trial.
          (iv)    Whether either forum has an interest in having the controversy
decided within its borders. The Western District of Texas has a strong interest in
having this case administered there because the Debtor is headquartered there, and
the Debtor’s “nerve center” is there.
          (v)     Whether the enforceability of any judgment would be affected by
the transfer. This does not appear applicable in this bankruptcy main case.
          (vi)    Whether the plaintiff’s original choice of forum should be disturbed.
Considering the “plaintiff” as the Debtor, there is a reason to disturb the Debtor’s
choice of forum. The Debtor does not have any corporate existence or connection
whatsoever to the Southern District of Texas. Indeed, the Debtor includes in its
contracts with each of its partners, customers, employees, and non-disclosure
agreements a venue provision requiring any litigation be brought in the Western
District of Texas, Austin Division. Thus, the debtor’s practice prior to the

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bankruptcy was to handle all legal proceedings, to the extent possible, in the
Western District of Texas, Austin Division.
                              Convenience of Parties
        20.     The convenience of parties will also be best served by transfer to the
Western District of Texas, Austin Division:
        (i)     Proximity of creditors of every kind to the court. As discussed
above, out of the twenty largest unsecured claims, none of the creditors are located
in the Southern District.
        (ii)    Proximity of the debtor. As stated above, this Debtor has no
existence in the Southern District of Texas and has its entire existence in the
Western District. In this case, all of the critical witnesses for the debtor are located
in Austin, Texas.
        (iii)   Proximity of witnesses necessary to the administration of the estate.
The executives and other employees who run the Debtor are located in the Western
District of Texas.
        (iv)    Location of the assets. All of the Debtor’s assets are located in the
Western District; none are located in the Southern District.
        (v)     Economic administration of the estate. As stated above, there is no
reason to believe that the bankruptcy court in the Western District would handle
this case any less efficiently or economically than this Court. Given that witnesses
to be examined are in the Western District, as is the majority shareholder
considerable efficiency should be gained by a transfer.
        (vi)    Necessity for ancillary administration if liquidation should result. If
this case results in liquidation, all of the Debtor’s physical assets are located in the
Western District. That is where a trustee should be appointed and where the assets
should be liquidated.
        21.     Finally, this Court should consider the issue of forum shopping. As
discussed in In re Abacus Broad. Corp.,
        How much deference should be given to a forum selected primarily
        by the lawyers, for their own convenience or concern for
        remuneration? How much deference should be given to a debtor's
        concern that it get what it perceives to be a “debtor's judge?”

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       Whenever a creditor raises the venue question, none at all. Forum
       shopping has never been favored by federal courts, and courts are
       quick to discern the evil in all its disguises. See, e.g., Wood v. Santa
       Barbara Chamber of Commerce, Inc., 705 F.2d 1515, 1523 (9th
       Cir.1983), cert. denied, 465 U.S. 1081, 104 S.Ct. 1446, 79 L.Ed.2d
       765 (1984); Intern. Rectifyer Corp. v. American Cyanamid Co., 520
       F.Supp. 635, 639 (D.Minn.1981); In re Heritage Wood'N Lakes
       Estates, Inc., 73 B.R. 511, 514 (Bankr.M.D.Fla.1987). In
       bankruptcy, too often the tactic is masked by pious pronouncements
       about the debtor's “right” to select the most advantageous of several
       possible forums, in order to advance the prospects for
       reorganization. *687 That rationale, however, should in the usual
       instance, be taken with several grains of salt. Too many corporations
       with familiar household names are operating in bankruptcy under
       the name of some obscure subsidiary whose venue happens to
       coincide with either the debtor's or the debtor's lawyers' perception
       of the most favorable judicial forum in which to operate. This tactic
       is not simply unfair to the creditors of these estates. It is also unfair
       to the judges.
154 B.R. 682, 686–87 (Bankr. W.D. Tex. 1993).
       22.     Based on the foregoing considerations, this Court should transfer
this matter to the Western District of Texas, Austin Division.


                      EMERGENCY CONSIDERATION
       23.     Pursuant to Local Bankruptcy Rule 9013-1(i), and Part (D)(9) of the
Complex Procedures, Movants request emergency consideration of this Motion.
The relief requested is critical to ensure that the proper forum of this matter is
determined in advance of the Debtor’s pending motions. Proper venue should be
considered and decided at the outset so that the appropriate court is able to hear all
or most of the motions that are filed in this matter. Movants submit that they have
satisfied the “immediate and irreparable harm” standard, and respectfully request
that the Court approve the relief sought herein on an emergency basis. Relief is
respectfully requested no later than on or before August 5, 2020, because upon
information and belief, the debtor may need disbursements for the week of August
9th which would need to be processed on or before August 6th.




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                                   CONCLUSION
        If the Court does not dismiss this Bankruptcy Case, the decision to transfer
venue is within the discretion of the Court. A court should base its venue analysis
on the facts underlying each particular case. In re Dunmore Homes, Inc., 380 B.R.
668, 670 (Bankr. S.D.N.Y. 2008). Movants submit that the Court should exercise
its discretion to transfer the venue of this case.
        Movants therefore request that this Bankruptcy Case be transferred to the
Western District of Texas, Austin Division and for such other relief to which they
are entitled.
Dated: July 30, 2020                    Respectfully submitted,

                                        SPENCER FANE LLP


                                        By: /s/ Eric. M. Van Horn
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                                        Telephone: 713.212.2651
                                        Facsimile: 713.963.0859

                                ATTORNEYS FOR KSCO HOLDING, INC.
                                AND KEVIN SPROLES



                                Certificate of Service

        I certify that on July 30, 2020, I caused a copy of the foregoing document
to be served by the Electronic Case Filing System for the United States Bankruptcy
Court for the Southern District of Texas.

                                        /s/Eric Van Horn
                                        Eric Van Horn
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